        Case 2:20-cv-00100-RAH-SMD Document 6 Filed 09/22/20 Page 1 of 1




                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

JOHNNIE DENMARK, JR.,                          )
                                               )
           Plaintiff,                          )
                                               )
   v.                                          )   CIVIL ACTION NO. 2:20-CV-100-RAH
                                               )
ELMORE COUNTY SHERIFF                          )
DEPARTMENT,                                    )
                                               )
           Defendant.                          )

                                        ORDER

        On August 5, 2020, the Magistrate Judge entered a Recommendation (Doc. 5) to

which no timely objections have been filed. After an independent review of the file and

upon consideration of the Recommendation, it is ORDERED as follows:

        1. The Recommendation of the Magistrate Judge (Doc. 5) is ADOPTED;

        2. This case is DISMISSED without prejudice prior to service of process pursuant

           to 28 U.S.C. § 1915(e)(2)(B); and

        3. No costs are taxed.

        A separate Final Judgment will be entered.

        DONE, this 22nd day of September, 2020.


                                          /s/ R. Austin Huffaker, Jr.
                                   R. AUSTIN HUFFAKER, JR.
                                   UNITED STATES DISTRICT JUDGE
